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FR;BRC Case 4:02-cr-00094-BSI\/| Document 28 Filed 04/14/08 Page 1 of 2

EDI.'\R (2.'2005} F l L E D

US DFSTRICT COURT
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United States Dlstrlct Court g TR‘CT"`:KANSAS
for the APR 14 mm
Eastern District of Arkansas
Petition for Summons for Offender Under Supervis_'_j:pn WES W MCCORMACK :l-B'
LERK

 

Name of Offender: James Jackson Case Number: 4:02CR00094-001 WRW

Name of Sentencing Judicial Ot`ficer: Honorable William R. Wilson, Jr.
United States District Judge

Offense: Possession with intent to distribute more than 5 grams of cocaine base
Date of Sentence: November 21, 2002
Sentence: 84 months Bureau of Prisons, 4 years supervised release, mandatory drug

testing, substance abuse treatment, and $100 special penalty assessment

March 3, 2008: Sentence of imprisonment reduced to time served under
18 U.S.C. § 3582(0)(2), and immediately enter and complete residential
substance abuse treatment followed by chemical free living

Type of Supervision: Supervised release Date Supervision Cornmenced: March 6, 2006
Expiration Date: March 5, 2012

Asst. U.S. Attorney: John Ray White Defense Attomey: Mark Jesse

U.S. Probation Otflcer: Margaret N. Johnson
Phone No.: 501-604-5249

 

PETITIONING THE COURT
The offender has violated the following condition(s) of supervision:
Condition Nature of Noncompliance

Spccial The defendant is ordered to enter and complete a residential substance abuse
program to be followed by chemical free living under the guidance and supervision
of the probation office. On March 10, 2008, James Jackson entered a 30-day residential
drug treatment program at Recovery Centers of Arkansas in North Little Rock, Arkansas.
On March 21, 2008, Mr. Jackson left the program without permission of the Court or
probation office. He reported having verbal altercations with a staff member and he was
concerned it might escalate to a physical confrontation. Mr. Jackson said he does not
regret his decision to leave the program without authorization Program officials advised
that Mr. Jackson's wife had left a McDonald's sack at the facility for the defendant
lnside the sack, staff found a hotel room key for Mr. Jackson. ln addition, his wife was
seen driving down the street multiple times while Mr. Jackson stood outside to smoke a
cigarettel RCA staff cautioned Mr. Jackson about any infractions; however, they did no't
terminate him from the program. Instead, he chose to walk away.

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Prob 12C -2- Petition for Summons for

Offender Under Supervision

Name of Offender: .l ames _lackson Case Number: 4202CR00094-001 WRW

lt is requested that a summons be issued and a revocation hearing held. Mr. Jackson is represented by
Defense Attomey, Mark Jesse. The Govemment is represented by Assistant U.S. Attomey .lohn Ray
White.

l declare under penalty of perjury that the foregoing
is true and correct

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Margarer N. Johnson \~J=ehn Ray Whirel

U.S. Probation Officer Assistant U.S. Attomey
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Date: April 7, 2008 Date: dr- ct F D%

 

 

 

This fonn is to be filed With Criminal Docketing as a motion.

Approved:

Mcc/W,/€

Supervising U.S. Probation Officer

MNJ/jkr

c: Defense Attorney, Mark .lesse, 221 W. 2d Street, Suite 227, Little Rock, AR 72201
Assistant U.S. Attomey, John Ray White, P.O. Box 1229, Little Rock, AR 72203

